         Case 2:18-cr-00292-RJC Document 1125 Filed 04/19/23 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       Criminal No. 18-292
                                             )
ROBERT BOWERS                                )

                                      ORDER OF COURT

       AND NOW, this 19th day of April, 2023, the Court has performed an in camera review of

the Government’s Motion at ECF No. 1123. Based upon the Court’s review of the Motion, the

attached documents, and the case law cited in the Motion, the Court can perceive no basis as to

why the information at issue is either discoverable or admissible. That said, in an abundance of

caution, and because the Court perceives little, if any, prejudice from the production of the small

number of documents at issue, the Court hereby directs that the attached documents be provided

to the Defense, as well as a copy of the Government’s Motion at ECF No. 1123. The issue of

admissibility can be addressed in further detail after the Defense has an opportunity to review the

documents. The Court stresses that it enters this Order only in an abundance of caution, and does

not speak to the issue of whether the Government has been in any manner deficient in providing

discovery to the Defense to date. The Court is aware of the pending Motion for Court Order

Compelling the Government to Confirm Production of All Rule 16 and Brady Material in Its

Possession (ECF No. 1113), which is not fully briefed, and anticipates that this issue might be

addressed in the parties’ briefing.

                                                            BY THE COURT:

                                                            s/Robert J. Colville_______
                                                            Robert J. Colville
                                                            United States District Judge
cc:    All counsel of record
